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                          UNITED SThTES DISTR1C COtJ!T
                             DISTRICT OF NEW JERSE?


    UNITED STATES OF AMERICA         :      Hon. Claire C. Cecehi

               v.                    :      l4aq. No.    10—4147   (c::cc
    SANG-H?UN ?•Rl<,   et al.               ORDER FOR CONTINUANCE


               This matter h-aving come before the Cöurt on

    appHcatiôn of Paul J. Fishinan,      United States Attorney or

    )ist:ict or New 3ersey (by Barbara Lianes, A              rant U.S.

    !torrey)    and defendant In-Sock Lee     (by Sunc R Zernary,           i::.

     for an order granting a continuance of the pr:c;eedinrn an Li

    above—captioned mattr for a period of 75 days to allow the

    parties to conduct plea negotiations, and attempt to finalize a

    plea agreement., and three continuances havinq trevjousLy

    ciranted by the Court pursuant to Title l,          Unued States        o.

    Section 3161(h) (7) (),     so that the parties could attenpt           t

    resolve the matter and thereby avoid a possihe triaL              and

    deftndant being aware. that she has the riqi.        tO   hive the mdt:

    submitted to a grand jury within thirty days of           the date of her

    arreSt pursuant to Title 8, United States Code.           SecLon

    3l61(b),nd the defeadant having consenttd to the coni.in

    waived such right,    and for good cause shown,

               IT IS THE FINDING OF THIS COURT thai. this

    he cuntinued for the foiiowinq reasons:
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